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                          UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF TEXAS

KEENANLAN ANTWOIN CLEMMONS                     §                      CIVIL ACTION NO.
AND LA CRESHA DANYEL ROY                       §
    Plaintiffs,                                §                          1:22-CV-323
                                               §
v.                                             §
                                               §
                                               §
GENERAL MOTORS LLC                             §
    Defendants.                                §

                                  NOTICE OF SETTLELMENT

To the honorable United States District Court Judge:

       COMES NOW Defendant, General Motors LLC, (“Defendant”) and hereby notifies the

Court that the parties have reached a settlement in this matter. Upon completion of the

settlement, the parties will submit appropriate dismissal documents.



                                            Respectfully submitted,

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                                            By: ____/s/ Matthew R. Beatty_____
                                                   Matthew R. Beatty
                                                   State Bar No. 24001169
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                                            ATTORNEY FOR DEFENDANT
                                            GENERAL MOTORS LLC




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                                        CERTIFICATE OF SERVICE

        I do hereby certify that I have on this 29th day of August 2022 a copy of the foregoing was
filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be
sent to all counsel of record by operation of the Court’s electronic filing system.



                                                     /s/ Matthew R. Beatty
                                                    Matthew R. Beatty




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